            Case 1:19-cv-07478-MKV Document 40 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 EMILY PENZO                                                                                10/21/2020

                                                Plaintiff,                    ORDER SCHEDULING
                                                                              SETTLEMENT CONFERENCE
                             -against-
                                                                              19-CV-7478 (MKV)

 CONSOLIDATED EDISON COMPANY
 OF NEWYORK, INC.,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         A settlement conference in this matter is scheduled for Thursday, November 12, 2020

at 12:00 p.m. Counsel is directed to email Judge Parker’s chambers with the Zoom login

information for this conference. Corporate parties must send the person with decision making

authority to settle the matter to the conference. The parties are instructed to complete the

Settlement Conference Summary Report and prepare pre-conference submissions in

accordance with the Judge Parker’s Individual Rules of Practice. Pre-conference submissions

must be received by the Court no later than November 5, 2020 by 5:00 p.m.


         SO ORDERED.

Dated: October 21, 2020
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
